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                                                                                               H.      .FERS
UNITED STATES OF AMERICA,                           )                                    Ei![n
                                                    )
                      Plaintiff,                    )      CRIMINAL NO.22-0298 JB
                                                    )
          vs.                                       )      Count l:   18 U.S.C. $ 1951(a):
                                                    )      Interference with Interstate Commerce by
AMBERYAX,Zre,,                                      )      Robbery; 18 U.S.C. $ 2: Aiding and
GREGORYYAZZTE,                                      )      Abetting;
RANDY JOE, and                                      )
CIIADYNE TOHE,                                      )      Counts   2and5:   18 U.S.C.
                                                    )      $ 92a(cXlXA)(iii): Using and Carrying         a
                      Defendants.                   )      Firearm During and in Relation to a Crime
                                                    )      of Violence, and Possessing a Firearrr in
                                                    )      Furtherance of Such Crime; Discharging
                                                    )      Said Fireann;
                                                    )
                                                    )      Count 3:   18 U.S.C. $ 92a(c)(1)(A)(i):
                                                    )      Using and  Carrying a Firearm During and in
                                                    )      Relation to a Crime of Violence, and
                                                    )      Possessing a Firearm in Furtherance of Such
                                                    )      Crime;
                                                    )
                                                    )      Count4: 18 U.S.C. $$ 1153 and 113(a)(3):
                                                    )      Assault with a Drngerous Weapon.

                                    SUPERSEDING INDICTMENT
The Grand Jury charges:

                                                   Count   1



       On or aboirt December 4,2021, in McKinley County, in the District of New Mexico, the
      .t
defendants, AMBER YAZ,ZIE, GREGORY YAZZre,, RANDY JOE, and CHADYI\IE
      .   .   i__-

                t,.                                                                      (
TOIP, unlawfrrlly          obstructed, delayed and affected commerce, and the movement of articles

and commodities in such commerce, by robbery, in that the defendant unlawfirlly took and

obtained personal properly consisting of U.S. cuffency, from the person and in the presence             of

Jane Doe 1, Jane        Doe2, and Jane Doe 3, then employed by C+R Insurance, against their will by
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           means of actual and threatened force, violence, and fear of injury, that is, the defendants

           threatened Jane Doe 1, Jane 2, and Jane Doe 3 with a firearm.

                  In violation of 18 U.S.C. $ 1951(a)

                                                          Count 2

                  On or about December 4,2021, in McKinley County, in the District of New Mexico, the

           defendant, AMBER YAzzre,knowingly used and ca:ried a ftrearm, dwing and in relation to a

           crime of violence for which the defendant may be prosecuted in a court of the United States,

           specifically, robbery as charged in Count   I of this indictrrent, and possessed   said firearm   in

           furtherance of such crime, and the firearm was discharged.

                  [r violation of 18 U.S.C. $ 92a(c)(lxAxiii).
                                                          Count 3

                  On or about December      4,2Lzl,in McKinley County, in the District of New Mexico, the

           defendant, GREGORY YAZZIE, during and in relation to a crime of violence for which the

           defendant may be prosecuted in a court of the United States, specifically, robbery as charged          in

           Count 1 of this indictnent, knowingly used and carried a firearm, and in furtherance of such

           crime, possessed said fireann.

                  In violation of l8 U.S.C. $ 924(c)(1XA)(i).

                                                          Count 4

                  On or about December 6,2021, in Indian Counfiy, in McKinley County, in the District              of

           New Mexico, the defendant, AMBER YAZZIE,an lndian, assaulted John Doe with a dangerous

", '', '   weapon, specifically, a firearm, wittr intent to do bodily hann.   r1'




                  In violation of 18 U.S.C. $$ 1153 and 113(a)(3).
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                                                Count 5

       On or about December 6,2021,,in McKinley County, in the District of New Mexico, the

defendant, AMBER     Y\ZzlE,knowingly          used and carried a fitearm, during and in relation to a

crime of violence for which the defendant may be prosecuted in a court of the United States,

specifically, assault with a dangerous weapon as charged in Count 4 of this indictrrent, and

possessed said fireann in furtherance     of such crime, and the fuearm was discharged.

       Inviolation of    18 U.S.C. $   92a(c)(lxAxiii).

                                   FORFEITURE ALLEGATION

       Upon conviction of any offense in violation of 18 U.S.C. $ 924(c), the defendants,

AMBER YAZZIE and GREGORY YAZZIE, shall forfeit to the United                   States, pr:rsuant   to   18


U.S.C. $ 924(d) and28 U.S.C. $ 2461(c), any ammunition involved in the commission of the

offense, including, but not limited to:

       a.      various magazines and ammunition seized from the vehicles searched on

               December 27,2021, and from the premises of 128 Bosson Wash Road,

               Vanderwagen, New Mexico searched on December 9,2021.




                                                          A TRUE BILL:




                                                                       N OF TTIE GRAND JURY
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Assistant United States Attorney
